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EXHIBIT 6
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AMERICAN ARBITRATION ASSOCIATION
COMMERCIAL DIVISION

 

STRAIGHT A COMPANY, LP,
Claimant,

-against-

LA APPAREL, INC.,
Respondent.

Case No. 01-19-0004-6511

 

RESPONDENT’S POST-HEARING MEMORANDUM

Dated: November 23, 2020

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APPENDIX A

CALCULATION OF PROFIT DISTRIBUTION
UNDER AMENDED FORMULA

FOR 2018

(From: Exhibit C-6; Transcript at 642-661)

Gross Profit (on Net Sales of $16.442,603): $ 3,987,542
Less: royalties, shared expenses (738,112)
Distribution before Profit Reserve and commissions: 3,249,430
Less 5% Profit Reserve (5% of Net Sales above) (822,130)
DISTRIBUTION POOL: 2,427,300
(a) to Straight A
Greater of:
6% of adjusted shipments (Net Sales): 986,556.00
445% Distribution Pool: 1,080,148.50 !

(b) balance of Distribution Pool to LA Apparel

which is 55.5% of Distribution Pool: 1,347,151.50 2

' Previously paid to Straight A = 978,009.00, so Balance due to Straight A = 102,139.50

? Previously paid to LA Apparel = 841,662.00, so Balance due to LA Apparel = 505,489.50
